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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                             MIDLAND-ODESSA DIVISION

PHH MORTGAGE CORPORATION,                         §
SUCCESSOR BY MERGER TO OCWEN                      §
LOAN SERVICING, LLC,                              §
                                                  §
     Plaintiff,                                   §
                                                  §
v.                                                §
                                                  §        Civil Action No. 7:21-cv-00133
OLD REPUBLIC NATIONAL TITLE                       §
INSURANCE COMPANY,                                §
                                                  §
     Defendant.                                   §


                    PLAINTIFF’S CERTIFICATE OF INTERESTED
                  PARTIES / CORPORATE DISCLOSURE STATEMENT

        COMES NOW Plaintiff PHH Mortgage Corporation, Successor by Merger to Ocwen

Loan Servicing, LLC (“PHH” or “Plaintiff”) and files this its Certificate of Interested Parties /

Corporate Disclosure Statement and states as follows:

                                I.     INTERESTED PARTIES

        The following is a complete list of all persons, associations of persons and entities that

are financially interested in the outcome of the case, to Plaintiff’s knowledge:

     1. PHH Mortgage Corporation
        Plaintiff
        c/o Mark D. Cronenwett
        Mackie Wolf Zientz & Mann, P. C.
        14160 North Dallas Parkway, Suite 900
        Dallas, Texas 75254
        mcronenwett@mwzmlaw.com
        (214) 635-2650
        (214) 635-2686 (Fax)

PHH Mortgage Corporation is a New Jersey corporation with a principal place of business in
New Jersey. PHH Mortgage Corporation is privately held in its entirety by a holding company,
PHH Corporation, which is a Maryland corporation with a principal place of business in the


PLAINTIFF’S CERTIFICATE OF INTERESTED PARTIES/CORPORATE DISCLOSURE STATEMENT
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Maryland. One hundred percent of the common stock of PHH Corporation is owned by Ocwen
Financial Corporation. Ocwen Financial Corporation is a publicly traded corporation, with no
entity owning more than 10% of its stock.

   2. Old Republic National Title Insurance Company
      Defendant
      3000 Bayport Drive, Ste. 1000
      Tampa, FL 33607
      (800) 328-4441

                                              Respectfully submitted,

                                              By:    /s/ Mark D. Cronenwett
                                                    MARK D. CRONENWETT
                                                    Texas Bar No. 00787303
                                                    mcronenwett@mwzmlaw.com

                                              MACKIE WOLF ZIENTZ & MANN, P. C.
                                              14160 North Dallas Parkway, Suite 900
                                              Dallas, TX 75254
                                              Telephone: (214) 635-2650
                                              Facsimile: (214) 635-2686

                                              ATTORNEYS FOR PLAINTIFF




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